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 6
     Attorneys for Defendant
 7   James Monsees
 8
                                     UNITED STATES DISTRICT COURT
 9
                                NORTHERN DISTRICT OF CALIFORNIA
10

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     KRYSTAL RAMIREZ-MURILLO, an                     Case No. 3:19-cv-06587 WHO
12   individual,
                                                     NOTICE OF APPEARANCE BY
13                      Plaintiff,                   JAMES N. KRAMER

14            v.

15   JUUL LABS, INC., a corporation; ALTRIA
     GROUP, INC., a corporation; PHILIP
16   MORRIS USA, INC., a corporation; ADAM
     BOWEN, an individual; JAMES MONSEES,
17   an individual; and DOES 1 through 100,
     inclusive,
18
                        Defendants.
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                                                           NOTICE OF APPEARANCE BY JAMES N.
                                                                                   KRAMER
     4165-5117-2387.1
                                                                               3:19-CV-06587
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 1            TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2            PLEASE TAKE NOTICE of the appearance of attorney James N. Kramer

 3   (jkramer@orrick.com) of the law firm Orrick, Herrington & Sutcliffe LLP, 405 Howard Street,

 4   San Francisco, CA 94105, as counsel of record in this action for Defendant James Monsees.

 5   Dated: March 16, 2020                           JAMES N. KRAMER
                                                     JAMES THOMPSON
 6                                                   Orrick, Herrington & Sutcliffe LLP
 7

 8                                                   By:         /s/ James N. Kramer
                                                                      JAMES KRAMER
 9
                                                                   Attorneys for Defendant
10                                                                     James Monsees
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                                                               NOTICE OF APPEARANCE BY JAMES N.
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